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           1 II Dan Stormer, Esg_. [S.B. #1019671
               y.'irginia Keeny, Esq. [S.B. # 139568]
           2 II HADSELL & STORMER, INC.
               128 North Fair Oaks Avenue, Suite 204                    c:;l •.
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           3 II Pasadena, CA 91103-3645                                 -<          .,..,...,             <::::)
                                                                                    ~;il
                Telephone: (626) 585-9600                               '
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           4 II Facsimile: (626) 577-7079                                   I
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           5 II Randy Renick, Esq. fS.B. #1796521                                       ;.        I
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                Joshua Piovia-Scott, 'Esq. fS.B. #2123641                               ·-'                  :;!:
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           6 II THE LAW OFFICES OF RANDY REN1CK                                         J ~ ~                -
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                128 N. Fair Oaks Ave, Suite 204                                         {.·:
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           7 II Pasadena, California 911 03                                                                     CD
                Telephone (626) 585-9608
           8 II Facsimile (626) 577-7079
                                                                                         ....
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           9 II Attorneys for Plaintiff
               JEFF BARDZIK
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          11
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
          12
                                    FOR THE COUNTY OF LOS ANGELES
          13
                                                        case ~o4   CV0 7 _0 1 4 1} VS                                 Q2-r%
          14 II JEFF BARDZIK
                                                        (Honorable )
          15                Plaintiff,
                                                        COMPLAINT FOR DAMAGES
          16         vs.
                                                        1.    VIOLATION OF 42 U.S.C.
          1711 COUNTYOFORANGECOUNTY,                          §1983 (FREE SPEECH)
               ORANGE COUNTY SHERIFF'S
          18 II DEPARTMENT, MICHAEL                     2.    VIOLATION OF 42 U.S.C.
               CARONA, Does 1-10                              §1983 (DUE PROCESS)
    L     19
                        Defendants.                     3.    VIOLATION OF 42 U.S.C.
/\I       20                                                  §1983 (MONELL CLAIM-
y       '021
                                                              FREE SPEECH)
                                                        4.    VIOLATION OF 42 U.S.C.
    !}    22                                                  §1983 (MONELL CLAIM-
                                                              DUE PROCESS)
          23
                                                              REQUEST FOR JURY TRIAL
          24
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     1                                        I. INTRODUCTION
     2 11           Plaintiff Jeff Bardzik brings this action against Defendants for: general,
     3 11 compensatory, injunctive, punitive and statutory damages; costs; attorneys' fees;

     4 11 and other appropriate and just relief resulting from Defendants' unlawful and

     5 11 tortious conduct, and as grounds therefore alleges:

     6 II                                           PARTIES
     7               1.      Plaintiff JeffBardzik is an individual who at all times relevant herein
     8 11 has resided in the County of Orange, State of California.

     9 11            2.      Defendant County of Orange conducts business within the County of
    10 II Orange, State of California

    11   II          3.      Defendant Orange County Sheriffs Department (hereafter "Sheriffs
    12   II Department") conducts business within the County of Orange, State of California.
    13 II            4.      Defendant Michael Carona (hereafter "Carona") is an individual who
    14        at all times
    15        relevant herein has worked within the County of Orange, State of California.
    16 II                                 FACTUAL ALLEGATIONS
    17               5.      Jeff Bardzik has been a sworn member of the Orange County
    18 II Sheriffs Department for 22 years, since graduating as Class President of his

    19 II Academy class in 1984. After receiving a medal of courage and working as the

    20 II Department Safety and Tactics Instructor and in the Gang Enforcement Team as a

    21   II Deputy, he was promoted in 1994 to Sergeant. As a Sergeant, he was twice
    22 II selected to serve as an Academy Tactical Sergeant where he was responsible for

    23 II the development and training of police recruits. In April 2003, Bardzik was

    24 II promoted to Lieutenant and was assigned as the Orange County Harbor Court

    25 II Operations Facility Commander.

    26 II            6.      In 1998, Michael Carona was elected Orange County Sheriff. Almost
    2711 immediately after the election, Carona appointed 86 political allies, campaign
    28                                                    2

                                           COMPLAINT FOR DAMAGES
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     1      contributors, friends and relatives as Orange County Sheriff Reserves. The
     2      political appointees were given badges, authorized to make arrests and in most
     3 11 cases allowed to carry guns and/or concealed weapons. Many of the Reserves

     4 11 Carona appointed did not have the background or training required for the

     5 11 position.

     6            7.      On July 1, 1999, shortly after the Reserve appointments, state
     7 11 legislation went into effect significantly increasing the training required to become

     8 11 a Reserve and as a result, California's Commission on Peace Officer Standards

     9 11 and Training (hereafter "POST") refused to recognize Carona's 86 Reserve

    1o appointees as Certified Peace Officers, a certification required to make arrests and

    11      carry guns.
    12 II         8.      As a result of the lack of background investigation and training of the
    13 11 appointees, there was a wealth of problems with the Reserves. Some ofCarona's

    14 II appointees lied about their criminal and drug history and their lack of training.

    15 II Others abused their authority using their guns and badges to intimidate civilians.

    16 II         9.      In November 2003, Carona asked Bardzik to take command of the
    17 II Reserve Division, clean it up and bring it back to respectability, telling Bardzik he

    18 II was selected because of his reputation for making ethical decisions. Carona told

    19 II Bardzik to "get rid of the dead wood," assured him there were "no sacred cows,"

    20 II told him to make sure it is not a "badge and gun club" and to "run    it like every
    21 II other division." From November 2003, through June 2004, Bardzik and Captain

    22 II Tom Twellman conducted an Audit of the entire Reserve Division, reported illegal

    23 II past practices and recommended numerous changes, including a written

    24 II recommendation that non-POST qualified Reserves not be allowed to serve as full

    25 II fledged Reserves. The Audit resulted in a lengthy and detailed report.

    26 II         10.     Bardzik received a May 3, 2004 letter of commendation for his work
    2711 on the Audit from Captain Twellman thanking him for his "hard work,"
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                                        COMPLAINT FOR DAMAGES
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     1        "dedication" and "commitment to the success of this project." Moreover, Carona's
     2        January 1, 2005 "state of the department" memo to all Orange County Sheriffs
     3 11 Department praised Bardzik' s decentralization of the Reserves as one of the

    4 11 "highlights of the year."

     5   11         11.   Bardzik reported to the Sheriffs Department that many ofCarona's
     6   11 appointees continued to lack POST certification, yet continued to carry guns and
     7 11 badges. In October 2004, Bardzik submitted a written recommendation to Carona

     8   11 that the Reserves he appointed no longer serve as official Reserves and that their
     9 11 status be changed to PSRs, non-sworn volunteers. Shortly thereafter, Bardzik

    10 11 advised Carona that California Penal Code §538d applied to the Sheriffs actions,

    11   II which makes it a misdemeanor to issue a badge to a non-sworn member "which so
    12   11 resembles the authorized badge of a police officer ... as would deceive an
    13   11 ordinary, reasonable person." Bardzik informed Carona that County Counsel had
    14 II come to the same conclusion and that he refused to participate in any future

    15 II issuing of inappropriate law enforcement badges to the PSRs. Carona told

    16 II Bardzik, "look me in the eye when I tell you this Lieutenant, I don't give a shit

    17 II about §538d and I don't give a shit about County Counsel. I'm going to change

    18        the law."
    19              12.   In May 2005, Reserves were asked to tum in their badges and IDs if
   20 II they had not complied with the Department requirements, including Carona's

   21    II friends, supporters and contributors. Some of these individuals were upset and
   22 II advised Carona as much, including writing letters to both Carona and Bardzik

   23 II pointing out they were financial supporters of Carona and complaining about the

   24 II treatment they were receiving. On May 25, 2005, Bardzik reported to his

   25    II supervisor that he had been approached by a Captain who requested, on behalf of
   26    II Carona, that Bardzik promote three Reserves in violation of the Reserve Division
   2711 promotion protocol because these Reserves were important supporters of Carona.
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                                       COMPLAINT FOR DAMAGES
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     1   11 This Reserve Division promotional protocol had been implemented by Bardzik
     2      after he became Reserve Division Commander to replace the system of favoritism
     3      that was in use before.
     4            13.    On May 15, 2005, Captain Murray of the Orange County Sheriffs
     5 11 Department called Bardzik and informed him that she was going to mail Bardzik a

     6 11 Carona campaign contribution envelope and that he should mail it back with $100
     7   11 so that he could be included on a list ofCarona's Department supporters to be
     8 11 published in the Orange County Register. Captain Murray informed Bardzik that
     9 11 she was calling all Captains and Lieutenants in the Department to do the same.

    10 II         14.    Bardzik felt pressured by the call from one of his commanding
    11   II officers demanding a campaign contribution to Carona, and on May 25, 2005,
    12 II Bardzik reported to his supervisor at the time, Assistant Sheriff Pete Gannon, that

    13 11 Murray was his ranking superior and that "her method of questioning me
    14   11 regarding who I will financially support in an election over one year away is
    15   II unseemly. Her insistence and pressure to decide now or otherwise be excluded
    16 II from a published list is coercive and suggests one is disloyal or will be discounted

    17   II if they choose to remain politically neutral." He pointed out that although Murray
    18   II told him that Carona did not know that she was doing this that it could be picked
    19   II up by the media and "perceived as coercion." Over the next couple months,
    20 II throughout May and June of2005, various friends and supporters ofCarona

    21 II advised Bardzik that he needed to publicly support Carona for reelection.

    22 II         15.    In September 2005, Bardzik was asked to look into the politically
    23 II sensitive issue of Carona's legal restriction against soliciting campaign

    24 II contributions from individuals serving as Orange County Sheriff Reserves. On

    25 II September 7, 2005, PSR leadership President Jim Palmer, another close political

    26   II ally of Carona, asked Bardzik whether Reserves are considered "employees" of the
    2711 Orange County Sheriffs Department for purposes of California Government Code
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     1 11 §3205. Section 3205 criminalizes solicitations of political contributions by a
     2   11 candidate for elective office of a local agency from employees of that agency.
     3 11 Palmer asked Bardzik if he could "get an educated opinion" on whether Reserves

     4 11 were considered employees under that statute. Bardzik immediately contacted

     5   11 Senior Deputy County Counsel Barbara Stocker on the subject, who replied that
     6   11 "that is the legal question of the year." IfReserves were considered County
     7 11 employees, § 3205 would preclude them from making contributions to Carona's

     8   11 reelection campaign.
     9 11           16.   Senior Deputy County Counsel Barbara Stocker informed Bardzik on
    1o 11     September 8, that while she was unsure if the Reserves were considered
    11 11 employees under Government Code §3205, they were considered employees for
    12   11 workers' compensation issues. Stocker advised Bardzik that ignoring this issue
    13   II could have "huge ramifications" and recommended that all Reserves and the
    14 II Sheriff"abide by §3205." Stocker informed Bardzik and that she would email him

    15 II something on the subject. Bardzik was concerned that the Reserves were being

    16 II placed in a precarious situation and informed his superior officer, Assistant Sheriff

    17 II Kim Markuson that he intended to inform the Reserves of County Counsel's

    18 II opinion. Markuson instructed Bardzik to immediately write a memo to all 600+

    19 II members of the Reserve Division advising them of the situation and to include the

    20   II information County Counsel was emailing him.
    21   II         17.   On September 8, 2005, as Bardzik was writing the memo to the
    22   II Reserves as instructed, Markuson called him and told him that the Sheriff had just
    23   II called from out of state and was "furious" because he had heard what Bardzik had
    24 II discovered about §3205, what County Counsel had recommended and that Bardzik

    25 II was going to inform all of the Reserves about the situation. Markuson instructed

    26 II Bardzik not to tell the Reserves about the possible applicability of Government

    2711 Code §3205 to them and never to contact County Counsel directly again.        Despite
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     1        the fact that he had contacted County Counsel on numerous occasions on various
     2        subjects before without any problems, Bardzik was told that he had to go through
     3   11 his commanding officer before contacting County Counsel in the future.
     4 11           18.   Frustrated with Carona's failure to clean up the Reserve Department,
     5   11 Carona's failure to lead the department in an ethical and law-abiding fashion, and
     6   11 Carona's campaign compromising the integrity of the Department, Bardzik chose
     7 11 to support Carona's opponent, Lt. Bill Hunt, in the 2006 election for Orange

     8 11 County Sheriff. In approximately May or June of2005, Bardzik's name appeared

     9 11 on a published list of Department members who supported Hunt for Sheriff.

    1o 11 Immediately thereafter, Carona initiated a campaign of retaliation against many on

    11   II the list, including Lt. Bardzik.
    12   II         19.    In July 2005, a Reserve Captain and close friend ofCarona, John
    13   11 Hensley, told Bardzik that he had gone out to dinner with Carona the night before
    14 11 and that Carona had told him, "tell Bardzik he should resign." In August 2005,

    15 II Bardzik finally met with Carona to discuss Carona' s demand that he resign. In

    16 II this meeting, Carona confirmed that Bardzik should resign and told Bardzik that

    17 II "the Bill Hunt thing didn't help" and that "you know where you were going in this

    18 II Department." As Bardzik was leaving the meeting, Carona told him, "remember,

    19 II Lieutenant, you brought this on."

    20   II         20.   Prior to the public disclosure ofBardzik's support ofCarona's
    21   II political opponent, Bardzik's hard work and dedication had been hailed his
    22 II supervisors, including Carona. For example, in Bardzik's annual review for the

    23 II time period of December 2003 to December 2004, Assistant Sheriff Gannon rated

    24 II him "Superior," the highest possible score. In the review, Gannon also praised

    25   II Bardzik for his "excellent job" as Division Commander and wrote that "I have
    26   II every confidence he will continue his commitment to his present assignment [as
    2711 Reserve Division Commander].          I consider Jeff an asset to the Department and I
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     1   11 feel he would make a great candidate for Captain when the opportunity arises."
     2   11 Later when Carona recruited Captain Tom Twellman to be Assistant Sheriff of the
     3   11 Reserve Division, Twellman repeatedly informed Carona that he would consider
     4 11 the position "only if JeffBardzik remained in the Reserve Division, as a Captain."

     5   11         21.   In response to Lt. Bardzik's support ofCarona's political opponent,
     6   11 on September 23, 2005, Bardzik was transferred out of the Reserve division to
     7   11 Court Operations in Fullerton, one of the least desirable Lieutenant's assignment
     8   11 in the entire Orange County Sheriffs Department and the furthest from Bardzik' s
     9   11   residence, a retaliatory practice in the Orange County Sheriffs Department known
    10   II as "freeway therapy."
    11   11         22.   In retaliation for having supported Hunt, Carona made sure that Lt.
    12 II Bardzik would never be promoted. Prior to Carona learning of Lt. Bardzik's
    13   II support for Hunt, Lt. Bardzik had been told that he would receive a promotion to
    14   II Captain. Bardzik applied for Captain's position on February 7, 2005 and in April,
    15   II he was one of only five Lieutenants invited by Carona to interview for the
    16   II position. At the time Bardzik was the Commander of the Reserve Division and at
    17   II the interview, Carona asked, "don't you think the Reserve Division Commander
    18   II position should be a Captain?"
    19   II         23.   Assistant Sheriffs Gannon and Galisky reported back to Bardzik
    20   II about his interview with Carona. Gannon said Bardzik's interview had been
    21 II "excellent" and should result in his promotion to Captain. Galisky said the same,
    22   II adding that the Sheriff ranks each candidate against the others in various
    23   II categories and had ranked Bardzik highest of all the candidates in at least one
    24 II category. Galisky told Bardzik that the most important category for Carona was

    25   II "loyalty" and that he had ranked Bardzik first out of all of the candidates in
    26 II "loyalty." As a result ofBardzik's support for Hunt, he was passed over for that

    2711 promotion and at least five subsequent promotions for Captain.
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                                       COMPLAINT FOR DAMAGES
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     1   11      24.     In December 2005, Carona continued his campaign of retaliation
     2   11 against Bardzik by denying him a pay raise that went to every other eligible
     3 11 Lieutenant with the exception of Bill Hunt. Of the seven Lieutenants assigned to

     4 11 Court Operations Division, every one of them received a pay raise except Bardzik.

     5   11 Senior Department members informed Bardzik that he was not getting the raise in
     6   11 retaliation for his previous actions. Moreover, not only was Bardzik denied a
     7 11 promotion to Captain along with the commensurate increase in salary, benefits and

     8   11 retirement, but the retaliatory transfer to Court Operations resulted in a loss of
     9   11 holiday and overtime work for Bardzik. After supporting Hunt, Bardzik received
    10   11 the first negative evaluation of his entire career.
    11   11      25.    Carona's campaign of retaliation also included the fabrication of
    12   11 wrongdoing against Bardzik resulting in Internal Affairs ("lA") investigations. On
    13   II one occasion, Carona and his staff fabricated the allegation that Bardzik had
    14 II leaked department information to the Los Angeles Times and ordered an lA

    15 II investigation of Bardzik. After a year the Department finally found the allegations

    16   II "not sustained." In response to Bardzik's complaint that the allegations against
    17 II him were fabricated by Carona and his staff, the Department refused to conduct a

    18 II complete or adequate investigation.

    19   II      26.    After Carona defeated Hunt, Carona initiated a second retaliatory and
    20 II unfounded investigation, this time accusing Bardzik of engaging in illegal or

    21   II unethical campaign activities in the workplace. Despite the fact that there is no
    22   II substance to the fabricated allegations, the matter remains under investigation by
    23   II the Department's Internal Affairs division.
    24 II        27.    Carona's retaliation also included preventing Bardzik from obtaining
    25   II the positions of Dana Point and San Clemente Chief of Police. Bardzik submitted
    26   II his application for the Dana Point position on November 16, 2006 and was almost
    2711 immediately advised that Carona had decided that he would not be permitted to
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                                       COMPLAINT FOR DAMAGES
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     1   11 apply for the position. He was given no explanation.
     2   11      28.    Bardzik is qualified for the position and has been advised by high
     3 11 ranking officials that he "would be an excellent fit" for the job. Indeed, he would

     4 11 have been the best candidate as the City of Dana Point rejected the first four

     5   11 applicants proposed by the Sheriff. Nonetheless, without explanation or the
     6   11 authority of any law or regulation to support his actions, Carona prevented
     7 11 Bardzik from even interviewing for the position while allowing other less

     8   11 qualified officers to do so.
     9   11      29.    Carona also refused to allow Bardzik to apply for the San Clemente
    10 11 Chief of Police position, a position for which he is also well qualified. The

    11   II position was posted on January 11, 2007, with applications to be accepted until
    12   II January 25. Bardzik submitted his application on January 22 but was informed on
    13 II January 26, 2007 that he would not be allowed to interview for the job.
    14 II                                 FIRST CAUSE OF ACTION
    15   II              (VIOLATION OF 42 U.S.C. §1983 (FREE SPEECH))
    16   11 (Against Defendant Orange County Sheriff Michael Carona in His Individual
    17 II                             and Official Capacity and Does 1-10)
    18   II      30.     Plaintiffrealleges and incorporates by reference each and every
    19 II allegation contained in paragraphs 1 - 29, as though fully set forth herein.
    20   II      31.     In perpetrating the above described acts and omissions, the County of
    21   II Orange and the Orange County Sheriffs Department were, at all relevant times
    22   II herein, California entities and defendant Michael Carona, and Does 1-10 were, at
    23 II all relevant times herein, its agents/employees. Thus, defendants' above-described

    24 II acts and omissions constitute cognizable state action under color of state law.

    25   II      32.     In perpetrating the above-described acts and failures to act, the
    26   II defendants, and each of them, engaged in a pattern, practice, policy, tradition
    2711 and/or custom of restraining plaintiffs' free speech on a matter of public concern
    28                                                 10

                                           COMPLAINT FOR DAMAGES
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     1   11 and harassing and retaliating against them because of such speech, in violation of
     2        the First Amendment to the United States Constitution and the California
     3        Constitution. Because rights under the federal and state Constitutions are
     4 11 federally protected, Defendants also violated plaintiffs' rights under 42 U.S.C.

     5   II §1983.
     6   11            33.   At all relevant times herein, there existed within County of Orange
     7   11 and/or the Orange County Sheriffs Department a pattern, policy, practice,
     8   11 tradition, custom, and usage of harassment and retaliation against employees who
     9   11 engage in speech on a matter of public concern, which resulted in a deliberate
    10   11 indifference to plaintiffs' right to free speech.
    11   II            34.   As more particularly alleged above, Defendants violated Bardzik's 1st
    12 11 Amendment right to free speech by retaliating against him for his support of

    13        Sheriff Carona' s 2006 election opponent, refusal to support Sheriff Carona in that
    14        race.
    15                 35.   As the direct and legal result of Defendants' unlawful conduct,
    16   II Bardzik has suffered and will continue to suffer reasonable, foreseeable and
    17 II ascertainable damages, including but not limited to, loss of earnings and other

    18   II employment benefits, emotional distress, anxiety, embarrassment, humiliation,
    19   II loss of self-esteem, depression, and attorney's fees. Plaintiffs are thereby entitled
    20   II to general and compensatory damages in amounts to be proven at trial.
    21

    2211                               SECOND CAUSE OF THE ACTION
    23   II                  (VIOLATION OF 42 U.S.C. §1983 (DUE PROCESS))
    24 II             (Against Defendant County of Orange Sheriff Michael Carona in His
    25 II                      Individual and Official Capacity and Does 1-10)
    26 II              36.   Plaintiffrealleges and incorporates by reference each and every
    2711 allegation contained in paragraphs 1 - 36, as though fully set forth herein.
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                                           COMPLAINT FOR DAMAGES
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     1   11         3 7.   In perpetrating the above described acts and omissions, the County of
     2   11 Orange and the Orange County Sheriffs Department were, at all relevant times
     3        herein, California entities and defendant Michael Carona, and Does 1-10 were, at
     4        all relevant times herein, its agents/employees. Thus, defendants' above-described
     5   11 acts and omissions constitute cognizable state action under color of state law.
     6   11         38.    In perpetrating the above-described acts and failures to act, the
     7   11 defendants, and each of them, engaged in a pattern, practice, policy, tradition
     8   11 and/or custom of failing to provide plaintiffs their due process in violation ofthe
     9        Fifth and Fourteenth Amendments to the United States Constitution. Because
    1o        rights under the federal Constitution are federally protected, defendants also
    11   11 violated plaintiffs' rights under 42 U.S.C. § 1983.
    12   11         39.    At all relevant times herein, there existed within County of Orange
    13   11 and/or the Orange County Sheriffs Department a pattern, policy, practice,
    14   11 tradition, custom, and usage of harassment and retaliation against employees who
    15 11 engage in speech on a matter of public concern, which resulted in a deliberate
    16   II indifference to plaintiffs' Fifth and Fourteenth Amendment rights.
    17   II         40.    As a result of the acts and failures to act as alleged herein, and as a
    18   II result of the County's customs, traditions, usages, patterns, practices, and policies,
    19   II plaintiff was deprived of his constitutional rights to due process, and suffered
    20   II damages caused thereby as more particularly alleged above.
    21   II         41.    As the direct and legal result of Defendants' unlawful conduct,
    22   II Bardzik has suffered and will continue to suffer reasonable, foreseeable and
    23   II ascertainable damages, including but not limited to, loss of earnings and other
    24   II employment benefits, emotional distress, anxiety, embarrassment, humiliation,
    25 II loss of self-esteem, depression, and attorney's fees. Plaintiffs are thereby entitled

    2611 to general and compensatory damages in amounts to be proven at trial.
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     1 11                                THIRD CAUSE OF ACTION
     2                                (VIOLATION OF 42 U.S.C. §1983)
     3                              (MONELL CLAIM- FREE SPEECH)
     4           (Against Defendants County of Orange and the Orange County Sheriff's
     5 11                                          Department)
     6   11         42.    Plaintiffrealleges and incorporates by reference each and every
     7 11     allegation contained in paragraphs 1 - 42, as though fully set forth herein.
     8   11         43.    In perpetrating the above described acts and omissions, the County of
     9 11 Orange and the Orange County Sheriffs Department were, at all relevant times

    1o 11 herein, California entities and defendant Michael Carona, and Does 1-1 0 were, at

    11   11 all relevant times herein, its agents/employees. Thus, defendants' above-described
    12   11 acts and omissions constitute cognizable state action under color of state law.
    13   11         44.    In perpetrating the above-described acts and failures to act, the
    14 II     defendants, and each of them, engaged in a pattern, practice, policy, tradition
    15 II     and/or custom of restraining plaintiffs' free speech on a matter of public concern
    16 II     and harassing and retaliating against them because of such speech, in violation of
    17        the First Amendment to the United States Constitution and the California
    18        Constitution. Because rights under the federal and state Constitutions are
    19 II     federally protected, defendants also violated plaintiffs' rights under 42 U.S.C.
    20   II §1983.
    21   II         45.    At all relevant times herein, there existed within County of Orange
    22 II     and/or the Orange County Sheriffs Department a pattern, policy, practice,
    23   II tradition, custom, and usage of harassment and retaliation against employees who
    24 II     engage in speech on a matter of public concern, which resulted in a deliberate
    25 II     indifference to plaintiffs' right to free speech.
    26 II           46.    As more particularly alleged above, Defendants violated Bardzik's 1st
    2711 Amendment right to free speech by retaliating against him for his support of
    28                                                   13

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     1 11 SheriffCarona's 2006 election opponent, refusal to support SheriffCarona in that

     2        race.
     3                47.   The acts set forth herein constitute a policy, practice, or custom of
     4 11 ordering, ignoring, encouraging, causing, tolerating, sanctioning, and/or

     5 11 acquiescing in the violation by County personnel of the constitutional rights of

     6   11 employees to free speech on matters of public concern and due process.
     7   11           48.   The acts and failures to act as alleged herein also result from a
     8   11 custom, practice or policy of inadequate training in a deliberate indifference to the
     9 11 rights of employees who speak out on matters of public concern, and the injuries

    1o 11 suffered by plaintiff as alleged herein were caused by such inadequate training.

    11   II           49.   Defendants, and each of them, exhibited deliberate indifference to the
    12   II violation of plaintiffs' protected speech and due process rights by failing to
    13   II investigate their complaints or provide them with protection from harassing and
    14 II retaliatory conduct.

    15   II           50.   Defendants, and each of them, are policy-makers for defendant
    16   II County of Orange. The acts and failures to act as alleged herein were done
    17   II pursuant to policies and practices instituted by these defendants pursuant to their
    18   II authority as policy-makers for the County of Orange.
    19   II           51.   As the direct and legal result of Defendants' unlawful conduct,
    20   II Bardzik has suffered and will continue to suffer reasonable, foreseeable and
    21   II ascertainable damages, including but not limited to, loss of earnings and other
    22   II employment benefits, emotional distress, anxiety, embarrassment, humiliation,
    23   II loss of self-esteem, depression, and attorney's fees. Plaintiffs are thereby entitled
    2411 to general and compensatory damages in amounts to be proven at trial.
    25

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     1   11                              FOURTH CAUSE OF ACTION
     2                                  (VIOLATION OF 42 U.S.C. §1983)
     3                              (MONELL CLAIM- DUE PROCESS)
     4           (Against Defendants County of Orange and the Orange County Sheriff's
     5   11                                      Department)
     6 11           52.    Plaintiffrealleges and incorporates by reference each and every
     7   11 allegation contained in paragraphs 1 -52, as though fully set forth herein.
     8   11         53.    In perpetrating the above described acts and omissions, the County of
     9   11 Orange and the Orange County Sheriff's Department were, at all relevant times
    1o 11 herein, California entities and defendant Michael Carona, and Does 1-10 were, at

    11   11 all relevant times herein, its agents/employees. Thus, defendants' above-described
    12   II acts and omissions constitute cognizable state action under color of state law.
    13   II         54.    In perpetrating the above-described acts and failures to act, the
    14   II defendants, and each of them, engaged in a pattern, practice, policy, tradition
    15   II and/or custom of failing to provide plaintiffhis due process in violation ofthe
    16        Fifth and Fourteenth Amendments to the United States Constitution. Because
    17        rights under the federal and state Constitutions are federally protected, defendants
    18   II also violated plaintiffs' rights under 42 U.S.C. §1983.
    19   II         55.    At all relevant times herein, there existed within County of Orange
    20   II and/or the Orange County Sheriff's Department a pattern, policy, practice,
    21   II tradition, custom, and usage of depriving employees of their Fifth and Fourteenth
    22   II Amendment rights to due process.
    23   II         56.    As more particularly alleged above, Defendants violated Bardzik's
    24   II Fifth and Fourteenth Amendment rights to due process by retaliating against him
    25   II for his support ofSheriffCarona's 2006 election opponent, refusal to support
    26   II Sheriff Carona in that race.
    2711            57.    The acts set forth herein constitute a policy, practice, or custom of
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     1   11 ordering, ignoring, encouraging, causing, tolerating, sanctioning, and/or
     2 11 acquiescing in the violation by City personnel of the constitutional rights of due
     3   11 process.
     4 11           58.   The acts and failures to act as alleged herein also result from a
     5   11 custom, practice or policy of inadequate training in a deliberate indifference to the
     6   11 rights of employees who speak out on matters of public concern, and the injuries
     7   11 suffered by plaintiff as alleged herein were caused by such inadequate training.
     8   11         59.   Defendants, and each of them, exhibited deliberate indifference to the
     9   11 violation of plaintiffs' protected speech and due process rights by failing to
    1o 11     investigate their complaints or provide them with protection from harassing and
    11   II retaliatory conduct.
    12   II         60.   Defendants, and each of them, are policy-makers for defendant
    13   II County of Orange. The acts and failures to act as alleged herein were done
    14   II pursuant to policies and practices instituted by these defendants pursuant to their
    15   II authority as policy-makers for the County of Orange.
    16   II         61.   As the direct and legal result of Defendants' unlawful conduct,
    17 II Bardzik has suffered and will continue to suffer reasonable, foreseeable and

    18   II ascertainable damages, including but not limited to, loss of earnings and other
    19   II employment benefits, emotional distress, anxiety, embarrassment, humiliation,
    20 II loss of self-esteem, depression, and attorney's fees. Plaintiffs are thereby entitled

    21   II to general and compensatory damages in amounts to be proven at trial.
    22
    23                                    PRAYER FOR RELIEF
    24              WHEREFORE, Plaintiff requests the following judgment and relief:
    25              1.    For compensatory damages including economic losses, lost wages,
    26                    vacation and retirement benefits, medical bills, mental and emotional
    27                    distress, and other special and general damages according to proof but
    28                                                16

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     1                    in excess of the jurisdictional threshold of this Court;
     2              2.    For an award of interest, including pre-judgment interest, at the legal
     3   11 rate;
     4 II           3.    For reasonable attorneys' fees pursuant to 42 U.S.C. §1988,
     5 II                 California Code of Civil Procedure §1021.5, and any other
     6 II                 appropriate statutes;
     7 II           4.    For punitive damages against the individual defendant;
     8              5.    For costs of suit incurred herein;
     9              6.    For a jury trial on all issues so triable;
    10 II           7.    For injunctive relief; and
    11 II           8.    For such other and further relief as this Court may deem just and

    12   II proper.
    13

    14

    1511                                   JURY TRIAL DEMAND
    1611            Plaintiff hereby demands a jury trial on all issues so triable.
    17

    1811 DATED: February 6, 2007                              Respectfully submitted,
    19                                                 Law Offices of Randy Renick
    20
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                                                       Attorney for Plaintiff
    23                                                 Jeff Bardzik
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